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&lt;div&gt; &lt;/div&gt;
&lt;div&gt;22CA0979 Peo v Herrera 10-10-2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;COLORADO COURT OF APPEALS &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals No. 22CA0979 &lt;/div&gt;
&lt;div&gt;Mesa County District Court No. 21CR1583 &lt;/div&gt;
&lt;div&gt;Honorable Valerie J. Robison, Judge &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;The People of the State of Colorado, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Plaintiff-Appellee, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;v. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Johnny Ralph Herrera, Sr.&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Defendant-Appellant. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;ORDER AFFIRMED &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division VII &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE PAWAR &lt;/div&gt;
&lt;div&gt;Tow and Schutz, JJ., concur &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;NOT PUBLISHED PURSUANT TO C.A.R. 35(e) &lt;/div&gt;
&lt;div&gt;Announced October 10, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Philip J. Weiser, Attorney General, &lt;span&gt;Frank R. Lawson, Assistant Attorney &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;General, Denver, Colorado, for Plaintiff-Appellee &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Megan A. Ring, Colorado State Public Defender, &lt;span&gt;Kamela Maktabi&lt;/span&gt;, Deputy State &lt;/div&gt;
&lt;div&gt;Public Defender, Denver, Colorado, for Defendant-Appellant &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTPSRHGLZIQ&amp;amp;Expires=1728777822&amp;amp;Signature=%2B%2BvszLG5Ta53qwrxrsHH8e3sF9I%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEFcaCXVzLWVhc3QtMSJIMEYCIQCGm0%2FtS3qTKVYOz0HjVM2vvHWXNpAam8PdFJOk6vGe%2FAIhAP2fWV4OyececoZOZV4NicSoTHIl8FOEKylhMSRAg%2F9vKrsFCK%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FwEQABoMOTI2MDQxMjAzOTM1Igz51kSvf0rDyk4xTwgqjwUuZNw4CuZM7z8NIPY5fU6YARiqzfelEOUyDugFhKgn5v1knT7Ybx6RnMV%2B5kLh5qi7SzDYdcJsi5hkx1iPwpszjmVMaMpPolRcoxzm0TkaBwZ6HM66GH3vwVY1f%2BdWQHLo8oEV8sBOj7QdhhU6QoM3FZFQ6R6HXQyjGuFsAw0Dsoo8MxB%2Fule%2BMZEAObRocClqqGDDYqZ4aIsFPl7Gh85c4JEKKoOQSn8IVU8Y5rD05QkPtn%2BWSbggQ050MiUm9d1kMwLBIe36L4sBeeGVoYmgAjDzVUB93rGBNAGGjNVZpUyfgDfQF3czbzBkeJ9d7mrjtQ5TmodhEZ2ygsXEtbdPX0aIvbp9Y%2ByeBfG7iDTMlQsZ%2FSD9qa2FYGZxSU7%2FEkdqB84YUrGZIobz%2F3W8JnNvxz3qZurXy8YDGLhToHOnnDRYeKrvTxywijpsrEd5%2F%2BC%2B41nwvnWJgWDLXqhY4WIUn9FH6nBV%2FRbVogr3%2FhgIigi%2B5bxdAAnhw%2FdIhIFzMjVCu0FQcKeiaG7mO1Lw0eTyUjoA26gjLvF6Lo5jRT7CBAmGBz0SUnRON1fHgvpYVix9FCB6qZqjBNMU181tpz%2B6fHgXld5nJgRbDLcrSHa5pHymMxWKiIkGhGRjTRAD88LabW2WhMd1z11j%2FSKbp2PgWtQS%2BHCzrligTxow0%2BV%2BLDlo5NJFFUsmpbpSev64sE%2FECJUtcEimK3GpbsrWy9R%2B1LvSc1DKyFlKUYyKcCG%2B7Wcn5iKpIpXXLs9GxCz%2Bk4n1XZ4haSm07IGxvXr2r8Cn5Zr%2FiGMvJljnHJ%2Fk7O%2BH1O1b0O0qhgZdusE4MClKxEqPFAEVYcNJ2HtiMfG17voF30GNLZgbcE%2FqkJvEboD0MJnnq7gGOrAB8XeuY1woObm9TmbszaQVBfAcsZ6UAlp1bIteGD0R2Xv%2FQsbfou0YCel6YG86O8yrLl0x4s4yq0wDpEZv2CV%2FJHja07CsF8hny9elOhuvuwkCeEh9YDZvy299cPNLfqHUxHaqULywZjz1fK4S8fGjTGB%2FMINHrZw3ePNT2vs9TVNPx8fu3yqEDxs57K3KgSZTNowJMy6or9RUE0nXbr1kgMYHtVotVZcox2oUWzpPcxA%3D"&gt;&lt;div&gt;
&lt;div&gt;1 &lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;Defendant, Johnny Ralph Herrera, Sr., appeals the trial &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;courtâs &lt;span&gt;order imposing restitution.  He contends that the order m&lt;span&gt;&lt;/span&gt;ust &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;be vacated because the prosecution did not comply with its &lt;/div&gt;
&lt;div&gt;statutory obligation regarding restitution and the prosecution &lt;span&gt;&lt;/span&gt;failed &lt;/div&gt;
&lt;div&gt;to sufficiently prove that he proximately caused the damages &lt;/div&gt;
&lt;div&gt;sustained.  We affirm. &lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;/span&gt;&lt;span&gt;On October 15, 2021&lt;span&gt;, &lt;/span&gt;Deputy Pratt tried &lt;span&gt;to&lt;/span&gt; conduct a traffic &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;stop of Herreraâs vehicle&lt;span&gt;, but Herrera refused to stop for the &lt;span&gt;&lt;/span&gt;officer.&lt;span&gt;  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;During the ensuing pursuit&lt;span&gt;, &lt;/span&gt;Deputy Pratt, Deputy Rolbiecki, and &lt;/div&gt;
&lt;div&gt;Deputy Davidson each attempted &lt;span&gt;a &lt;span&gt;â&lt;/span&gt;&lt;/span&gt;PIT maneuver&lt;span&gt;â&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; to stop the &lt;/div&gt;
&lt;div&gt;vehicle. &lt;span&gt; &lt;/span&gt;The maneuver involved &lt;span&gt;contacting the back of Herreraâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;car with the front of the patrol car.  Ultimately, Davidson &lt;/div&gt;
&lt;div&gt;successfully stopped Herreraâs car by using a PIT &lt;span&gt;maneuver and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Herrera was taken into custody.   &lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;/span&gt;&lt;span&gt;Herrera was charged with vehicular eluding, attempted second &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;degree assault, driving under restraint, reckless endangerm&lt;span&gt;&lt;/span&gt;ent, &lt;/div&gt;
&lt;div&gt;violation of a traffic control signal, eluding a police off&lt;span&gt;&lt;/span&gt;icer, speeding, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;span&gt;PIT is short for âprecision immobilization technique.&lt;span&gt;&lt;/span&gt;  &lt;span&gt;People v. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;McMinn&lt;span&gt;, 2013 COA 94, Â¶ 5. &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;2 &lt;/div&gt;
&lt;div&gt;and possession of drug paraphernalia.  He pleaded guilty to &lt;/div&gt;
&lt;div&gt;vehicular eluding and an added count of attempted third degree &lt;/div&gt;
&lt;div&gt;assault in exchange for the dismissal of the remaining charges. &lt;span&gt;&lt;/span&gt; The &lt;/div&gt;
&lt;div&gt;plea agreement stated that the dismissed charges could be &lt;/div&gt;
&lt;div&gt;considered for restitution purposes.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;At&lt;span&gt; the January 25, 2022, sentencing hearing&lt;span&gt;, &lt;/span&gt;the prosecutor &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;asked that restitution be imposed and that he be affo&lt;span&gt;&lt;/span&gt;rded &lt;/div&gt;
&lt;div&gt;additional time to submit a request for a restitution amount.&lt;span&gt;  &lt;/span&gt;The &lt;/div&gt;
&lt;div&gt;trial court imposed a prison sentence&lt;span&gt;, &lt;/span&gt;ordered Herrera to pay &lt;/div&gt;
&lt;div&gt;restitution, and granted the prosecution twenty-one days from &lt;/div&gt;
&lt;div&gt;sentencing to submit a restitution amount request&lt;span&gt;.  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;On February 3, 2022, the prosecutor filed a motion for &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;restitution in the amount of $12,885.74 to repair the damage &lt;/div&gt;
&lt;div&gt;caused to the patrol cars.&lt;span&gt;  &lt;/span&gt;The motion included &lt;span&gt;a &lt;/span&gt;victim impact &lt;/div&gt;
&lt;div&gt;statement and invoices in support of the requested amount.  The &lt;/div&gt;
&lt;div&gt;victim impact statement indicated that the repair costs for one of &lt;/div&gt;
&lt;div&gt;the patrol cars was not final because the needed repairs had not yet &lt;/div&gt;
&lt;div&gt;been completed&lt;span&gt;.  &lt;/span&gt;Herrera objected to the requested restitution &lt;/div&gt;
&lt;div&gt;amount, and the court set a hearing.  &lt;span&gt; &lt;/span&gt; &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;3 &lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;At the March 2, 2022, restitution hearing, the prosecutor &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;elicited testimony that the remaining repairs were completed a wee&lt;span&gt;&lt;/span&gt;k &lt;/div&gt;
&lt;div&gt;or two prior to the hearing and that the final amount paid to r&lt;span&gt;&lt;/span&gt;epair &lt;/div&gt;
&lt;div&gt;the three vehicles was $23,549.22.&lt;span&gt;  &lt;/span&gt;The trial court ordered Herre&lt;span&gt;&lt;/span&gt;ra &lt;/div&gt;
&lt;div&gt;to pay &lt;span&gt;th&lt;span&gt;at&lt;/span&gt;&lt;/span&gt; amount&lt;span&gt;.  &lt;/span&gt;  &lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Statutory Violation &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;/span&gt;&lt;span&gt;Herrer&lt;span&gt;a &lt;span&gt;asserts that the restitution order must be vacated &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;because the trial court erroneously allowed the prosecuti&lt;span&gt;&lt;/span&gt;on to &lt;/div&gt;
&lt;div&gt;submit its restitution information after sentencing without &lt;/div&gt;
&lt;div&gt;demonstrating that the information was not available at or before &lt;/div&gt;
&lt;div&gt;sentencing.&lt;span&gt;  &lt;span&gt;He claims that he &lt;span&gt;is&lt;/span&gt; prejudiced by the error because he &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;owes $23,549.22 in restitution.&lt;span&gt;  &lt;/span&gt;We are not persuaded.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;/span&gt;&lt;span&gt;The restitution statute requires every order of conviction &lt;span&gt;&lt;/span&gt;to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;include one of four types of restitution orders.  Â§ 18-1.3-603(1), &lt;/div&gt;
&lt;div&gt;C.R.S. 2024&lt;span&gt;; &lt;/span&gt;&lt;span&gt;People v. Weeks&lt;/span&gt;, 2021 CO 75, Â¶ 3.  As relevant here, &lt;/div&gt;
&lt;div&gt;section 18-1.3-603(1)(b) requires an order of conviction t&lt;span&gt;&lt;/span&gt;o include &lt;/div&gt;
&lt;div&gt;â[a]n order that the defendant is &lt;span&gt;obligated to pay restitution, but &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that the specific amount of restitution shall be determined within&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;the ninety-one days immediately following the order of &lt;span&gt;&lt;/span&gt;conviction, &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;4 &lt;/div&gt;
&lt;div&gt;unless good cause is shown for extending the time period &lt;span&gt;&lt;/span&gt;by which &lt;/div&gt;
&lt;div&gt;the restitution amount shall be determined.â&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;span&gt;âThe court shall base its order for restitution upon informati&lt;span&gt;&lt;/span&gt;on &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;presented to the court by the prosecuting attorney, who shall &lt;/div&gt;
&lt;div&gt;compile such information through victim impact statements o&lt;span&gt;&lt;/span&gt;r &lt;/div&gt;
&lt;div&gt;other means to determine the amount of restitution and the &lt;/div&gt;
&lt;div&gt;identitie&lt;span&gt;s of the victims.â  Â§ 18&lt;/span&gt;-1.3-&lt;span&gt;603(2)(a).  â[T]he prosecut&lt;span&gt;&lt;/span&gt;ing &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;attorney shall present this information to the court prior t&lt;span&gt;&lt;/span&gt;o the &lt;/div&gt;
&lt;div&gt;order of conviction or within ninety-one days, if it is not available &lt;/div&gt;
&lt;div&gt;prior to the order of conviction.â  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;A division of this court concluded that section 18-1.3-603(2)(a) &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;imposes an obligation on the prosecution to use reasonable &lt;/div&gt;
&lt;div&gt;diligence in determining the amount of restitution it wi&lt;span&gt;&lt;/span&gt;ll request &lt;/div&gt;
&lt;div&gt;prior to the entry of the order of conviction.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;People v. Brassill&lt;/span&gt;, 2024 &lt;/div&gt;
&lt;div&gt;COA 19&lt;span&gt;, &lt;/span&gt;Â¶Â¶ 1, 30, 45.  Another division further held t&lt;span&gt;&lt;/span&gt;hat a trial &lt;/div&gt;
&lt;div&gt;court errs when it extends the prosecutorâs deadline to &lt;span&gt;&lt;/span&gt;present &lt;/div&gt;
&lt;div&gt;restitution information until after sentencing in the absence &lt;span&gt;&lt;/span&gt;of a &lt;/div&gt;
&lt;div&gt;demonstration that the restitution information was unavailable &lt;/div&gt;
&lt;div&gt;before the sentencing hearing.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;People v. Martinez Rubier&lt;/span&gt;, 2024 COA &lt;/div&gt;
&lt;div&gt;67&lt;span&gt;, Â¶Â¶ 3-4, 21, 39, 41. &lt;/span&gt;
&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;5 &lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;Initially, w&lt;span&gt;e reject Herreraâs assertion that the&lt;/span&gt; restitution order &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;must be vacated because the &lt;span&gt;prosecutionâs failure to submit t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;restitution information at or before sentencing divested t&lt;span&gt;&lt;/span&gt;he trial &lt;/div&gt;
&lt;div&gt;court of authority to enter the order&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See id. &lt;/span&gt;at Â¶Â¶ 46-47 (despite &lt;/div&gt;
&lt;div&gt;the prosecutionâs noncompliance with section 18&lt;span&gt;-1.3-603(2), the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;trial court entered a restitution order within section 18-1.3-&lt;/div&gt;
&lt;div&gt;603(1)(b)âs ninety&lt;span&gt;-one-day deadline and, therefore, was n&lt;span&gt;&lt;/span&gt;ot deprived &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of authority to act on restitution); &lt;span&gt;Brassill&lt;/span&gt;, Â¶Â¶ 57-&lt;span&gt;58.&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;/span&gt;&lt;span&gt;W&lt;span&gt;e &lt;span&gt;further conclude that the trial court did not err by f&lt;span&gt;&lt;/span&gt;inding &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that the prosecution sufficiently demonstrated that it&lt;span&gt;&lt;/span&gt; exercised &lt;/div&gt;
&lt;div&gt;reasonable diligence in obtaining the restitution information befo&lt;span&gt;&lt;/span&gt;re &lt;/div&gt;
&lt;div&gt;sentencing and that the information was not available at &lt;/div&gt;
&lt;div&gt;sentencing.&lt;span&gt;  &lt;span&gt;The prosecutor represented at the sentencing hearing &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that the patrol cars had sustained damaged and that&lt;span&gt;, â&lt;/span&gt;although the &lt;/div&gt;
&lt;div&gt;Victim Impact Statement has been requested, it has not yet been &lt;/div&gt;
&lt;div&gt;received.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;span&gt;The prosecutor said that he needed additional time to &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â&lt;span&gt;secure the itemized group of the damages suffered by . . . [t&lt;span&gt;&lt;/span&gt;he] &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Mesa County Sheriff&lt;span&gt;â&lt;/span&gt;s Department . . &lt;span&gt;. &lt;/span&gt;and figure out if we &lt;span&gt;&lt;/span&gt;can have &lt;/div&gt;
&lt;div&gt;a[n] agreement or if we need to request a hearing&lt;span&gt;.â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMX/n%2Be/MMXn%2BekQ817y/lXyeovZwcgeMWibwHo7dUSO3Lu0a7r74%3D?AWSAccessKeyId=ASIA5PHC3MTPSRHGLZIQ&amp;amp;Expires=1728777822&amp;amp;Signature=FvAMoo4QoAKJEdAL1uQjvLYG7r8%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEFcaCXVzLWVhc3QtMSJIMEYCIQCGm0%2FtS3qTKVYOz0HjVM2vvHWXNpAam8PdFJOk6vGe%2FAIhAP2fWV4OyececoZOZV4NicSoTHIl8FOEKylhMSRAg%2F9vKrsFCK%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FwEQABoMOTI2MDQxMjAzOTM1Igz51kSvf0rDyk4xTwgqjwUuZNw4CuZM7z8NIPY5fU6YARiqzfelEOUyDugFhKgn5v1knT7Ybx6RnMV%2B5kLh5qi7SzDYdcJsi5hkx1iPwpszjmVMaMpPolRcoxzm0TkaBwZ6HM66GH3vwVY1f%2BdWQHLo8oEV8sBOj7QdhhU6QoM3FZFQ6R6HXQyjGuFsAw0Dsoo8MxB%2Fule%2BMZEAObRocClqqGDDYqZ4aIsFPl7Gh85c4JEKKoOQSn8IVU8Y5rD05QkPtn%2BWSbggQ050MiUm9d1kMwLBIe36L4sBeeGVoYmgAjDzVUB93rGBNAGGjNVZpUyfgDfQF3czbzBkeJ9d7mrjtQ5TmodhEZ2ygsXEtbdPX0aIvbp9Y%2ByeBfG7iDTMlQsZ%2FSD9qa2FYGZxSU7%2FEkdqB84YUrGZIobz%2F3W8JnNvxz3qZurXy8YDGLhToHOnnDRYeKrvTxywijpsrEd5%2F%2BC%2B41nwvnWJgWDLXqhY4WIUn9FH6nBV%2FRbVogr3%2FhgIigi%2B5bxdAAnhw%2FdIhIFzMjVCu0FQcKeiaG7mO1Lw0eTyUjoA26gjLvF6Lo5jRT7CBAmGBz0SUnRON1fHgvpYVix9FCB6qZqjBNMU181tpz%2B6fHgXld5nJgRbDLcrSHa5pHymMxWKiIkGhGRjTRAD88LabW2WhMd1z11j%2FSKbp2PgWtQS%2BHCzrligTxow0%2BV%2BLDlo5NJFFUsmpbpSev64sE%2FECJUtcEimK3GpbsrWy9R%2B1LvSc1DKyFlKUYyKcCG%2B7Wcn5iKpIpXXLs9GxCz%2Bk4n1XZ4haSm07IGxvXr2r8Cn5Zr%2FiGMvJljnHJ%2Fk7O%2BH1O1b0O0qhgZdusE4MClKxEqPFAEVYcNJ2HtiMfG17voF30GNLZgbcE%2FqkJvEboD0MJnnq7gGOrAB8XeuY1woObm9TmbszaQVBfAcsZ6UAlp1bIteGD0R2Xv%2FQsbfou0YCel6YG86O8yrLl0x4s4yq0wDpEZv2CV%2FJHja07CsF8hny9elOhuvuwkCeEh9YDZvy299cPNLfqHUxHaqULywZjz1fK4S8fGjTGB%2FMINHrZw3ePNT2vs9TVNPx8fu3yqEDxs57K3KgSZTNowJMy6or9RUE0nXbr1kgMYHtVotVZcox2oUWzpPcxA%3D"&gt;&lt;div&gt;
&lt;div&gt;6 &lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;/span&gt;&lt;span&gt;Because the prosecut&lt;span&gt;or&lt;/span&gt; asked for an extension of time t&lt;span&gt;&lt;/span&gt;o file &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the restitution information and represented that, despite his &lt;span&gt;officeâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;efforts,&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; complete information had not yet been received, we &lt;/div&gt;
&lt;div&gt;conclude that the trial court&lt;span&gt;âs decision to allow the prosecutor to f&lt;span&gt;&lt;/span&gt;ile &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the restitution information after sentencing was not error.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Proximate Causation &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;/span&gt;&lt;span&gt;Herrera next contends that the prosecution failed to establish &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that he proximate&lt;span&gt;ly&lt;/span&gt; &lt;span&gt;cau&lt;/span&gt;sed the damage to the three patrol ca&lt;span&gt;&lt;/span&gt;rs.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Specifically, he argues that &lt;span&gt;âthe deputiesâ intentional decision to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;repeatedly crash their patrol &lt;span&gt;cars into Mr. Herreraâs car was gr&lt;span&gt;&lt;/span&gt;ossly &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;negligent, unforeseeable, and constituted an independent &lt;/div&gt;
&lt;div&gt;intervening cause&lt;span&gt;.â  We disagree.&lt;/span&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; As discussed, we find no error in the &lt;span&gt;trial courtâs reliance on the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;prosecutor&lt;span&gt;âs representation that itemized damages were not &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;complete (and therefore unavailable to the prosecution).  But we &lt;/div&gt;
&lt;div&gt;also note from our review of the record that the cover&lt;span&gt;&lt;/span&gt; letter from the &lt;/div&gt;
&lt;div&gt;District Attorneyâs office indicates the victim impact statement &lt;span&gt;&lt;/span&gt;form &lt;/div&gt;
&lt;div&gt;was not sent to the Mesa County Sheriffâs Risk Management Of&lt;span&gt;&lt;/span&gt;fice &lt;/div&gt;
&lt;div&gt;until January 26, 2022 &lt;span&gt;â&lt;/span&gt; one day &lt;span&gt;after&lt;/span&gt; the sentencing hearing.  &lt;/div&gt;
&lt;div&gt;Though that raises concern in light of the &lt;span&gt;prosecutorâs&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;representation that âalthough the &lt;span&gt;Victim Impact Statement has &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;been requested, it has not yet been received,&lt;span&gt;â&lt;/span&gt; it does not alter ou&lt;span&gt;&lt;/span&gt;r &lt;/div&gt;
&lt;div&gt;ultimate conclusion.&lt;span&gt;  &lt;/span&gt;It is undisputed that the repairs had not been &lt;/div&gt;
&lt;div&gt;completed at the time of sentencing so complete information was &lt;/div&gt;
&lt;div&gt;not available to the prosecution at that time.  &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf7" data-dest-detail='[7,"XYZ",69,285,null]'&gt;&lt;div style="border-style:none;position:absolute;left:149.576667px;bottom:794.011111px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
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&lt;div id="pf8" data-page-no="8"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;7 &lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;span&gt;A trial court may order restitution for âany pecuniary&lt;span&gt;&lt;/span&gt; loss &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;suffered by a victim,â which includes, as relevant here, âlo&lt;span&gt;&lt;/span&gt;sses or &lt;/div&gt;
&lt;div&gt;injuries proximately caused by an offenderâs conduc&lt;span&gt;&lt;/span&gt;t and that can &lt;/div&gt;
&lt;div&gt;be reasonably calculated and recompensed in money.â  Â§ 18&lt;span&gt;-1.3-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;602(3)(a), C.R.S. 2024&lt;span&gt;; &lt;/span&gt;&lt;span&gt;see also &lt;/span&gt;Â§ 18-1.3-603(1)(a). &lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;span&gt;â&lt;span&gt;The prosecution bears the burden of proving, by a &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;preponderance of the evidence, both the amount of restit&lt;span&gt;&lt;/span&gt;ution owed &lt;/div&gt;
&lt;div&gt;and that the victimâs losses were proximately caused by the &lt;/div&gt;
&lt;div&gt;defendant.â  &lt;span&gt;People v. Perez&lt;span&gt;, 2017 COA 52, Â¶ 10&lt;/span&gt;&lt;/span&gt;.  âA fact is &lt;/div&gt;
&lt;div&gt;established by a preponderance of the evidence when,&lt;span&gt;&lt;/span&gt; upon &lt;/div&gt;
&lt;div&gt;consideration of all the evidence, the existence of tha&lt;span&gt;&lt;/span&gt;t fact is more &lt;/div&gt;
&lt;div&gt;probable than its nonexistence.â  &lt;span&gt;People v. Garner&lt;span&gt;, 806 P.2d 3&lt;span&gt;&lt;/span&gt;66, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;370 (Colo. 1991).  In the restitution context, proxima&lt;span&gt;&lt;/span&gt;te causation is &lt;/div&gt;
&lt;div&gt;defined as a cause which in natural and probable sequence &lt;/div&gt;
&lt;div&gt;produced the claimed injury and without which the claime&lt;span&gt;&lt;/span&gt;d injury &lt;/div&gt;
&lt;div&gt;would not have been sustained.  &lt;span&gt;People v. Dyson&lt;/span&gt;, 2021 COA 5&lt;span&gt;&lt;/span&gt;7, &lt;/div&gt;
&lt;div&gt;Â¶ &lt;span&gt;13.&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;/span&gt;&lt;span&gt;However, unlawful conduct that is broken by an independent &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;intervening cause cannot be the proximate cause of damages to &lt;/div&gt;
&lt;div&gt;another.  &lt;span&gt;Martinez v. People&lt;/span&gt;, 2024 CO 6M, Â¶ 13.  To qualify as an &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;8 &lt;/div&gt;
&lt;div&gt;intervening cause, an event must be unforeseeable and one in &lt;/div&gt;
&lt;div&gt;which the accused does not participate.  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt;  &lt;span&gt;â&lt;/span&gt;&lt;/span&gt;Simple negli&lt;span&gt;&lt;/span&gt;gence is &lt;/div&gt;
&lt;div&gt;foreseeable and does not constitute an independent intervening &lt;/div&gt;
&lt;div&gt;cause; gross negligence is not foreseeable and thus may serve as an&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;independent intervening cause.&lt;span&gt;â  &lt;span&gt;People v. Sieck&lt;/span&gt;&lt;/span&gt;, 2014 COA 2&lt;span&gt;&lt;/span&gt;3, Â¶ 9&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Gross negligence is willful and wanton conduct, such as actions &lt;/div&gt;
&lt;div&gt;committed recklessly with conscious disregard for the safety &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;others.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Martinez&lt;/span&gt;&lt;span&gt;, Â¶ 14. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;/span&gt;&lt;span&gt;We&lt;span&gt; will not disturb a &lt;span&gt;trial courtâs determination of proximate &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;cause for restitution purposes unless it is clearly erroneous.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Id.&lt;/span&gt; at &lt;/div&gt;
&lt;div&gt;Â¶Â¶ 3, 32.&lt;span&gt;  &lt;/span&gt;Under the clear error standard, we must affirm the &lt;/div&gt;
&lt;div&gt;courtâs findings unless they are without support in the record.  &lt;span&gt;I&lt;span&gt;&lt;/span&gt;d.&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;at Â¶ 34. &lt;/div&gt;
&lt;div&gt;Â¶ 19&lt;span&gt; &lt;span&gt;In its order, the trial court found that Herreraâs â&lt;span&gt;criminal &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;actions of eluding law enforcement and placing the publi&lt;span&gt;&lt;/span&gt;c in danger &lt;/div&gt;
&lt;div&gt;proximately caused the damages to the three patrol vehicles.&lt;span&gt;â  Th&lt;span&gt;&lt;/span&gt;e &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court noted that, when a person is eluding law enforcement,&lt;span&gt;&lt;/span&gt; âit is &lt;/div&gt;
&lt;div&gt;within the natural and probable sequence of events that&lt;span&gt;&lt;/span&gt; law &lt;/div&gt;
&lt;div&gt;enforcement will attempt to halt the eluder.â  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfa" data-page-no="a"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;9 &lt;/div&gt;
&lt;div&gt;Â¶ 20&lt;span&gt; &lt;/span&gt;&lt;span&gt;The record supports &lt;span&gt;the trial courtâs finding that Herreraâs&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;criminal conduct proximately caused the damage to the patrol cars. &lt;/div&gt;
&lt;div&gt;The trial court heard testimony from the Mesa County Risk &lt;/div&gt;
&lt;div&gt;Administrator and Deputy Pratt.  &lt;/div&gt;
&lt;div&gt;Â¶ 21&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Mesa County Risk Administrator testified that during t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;underlying incident, the three patrol cars driven by Pratt&lt;span&gt;&lt;/span&gt;, Rolbiecki, &lt;/div&gt;
&lt;div&gt;and Davidson sustained damage.  He said that he was not awa&lt;span&gt;&lt;/span&gt;re of &lt;/div&gt;
&lt;div&gt;any record of unrelated damage to the vehicles that predated the &lt;/div&gt;
&lt;div&gt;incident. &lt;/div&gt;
&lt;div&gt;Â¶ 22&lt;span&gt; &lt;/span&gt;&lt;span&gt;Pratt testified that all three patrol cars sustained damage as a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;result of the PIT maneuvers used to stop &lt;span&gt;Herreraâs vehicle&lt;/span&gt; and the &lt;/div&gt;
&lt;div&gt;attempts to pin the vehicle to prevent Herrera from fleeing.  Pratt &lt;/div&gt;
&lt;div&gt;offered extensive &lt;span&gt;detail about Herreraâs initial &lt;/span&gt;&lt;span&gt;fail&lt;span&gt;ure&lt;/span&gt;&lt;/span&gt; to stop and &lt;/div&gt;
&lt;div&gt;subsequent erratic driving.  He explained that Herrera posed a &lt;/div&gt;
&lt;div&gt;safety risk to other drivers and described his attempt &lt;span&gt;&lt;/span&gt;to stop &lt;/div&gt;
&lt;div&gt;Herrera by way of a PIT maneuver before the pursuit&lt;span&gt;&lt;/span&gt; entered a busy &lt;/div&gt;
&lt;div&gt;intersection.  Pratt testified that Herrera was able to drive away &lt;/div&gt;
&lt;div&gt;after Pratt attempted to pin Herreraâs car, &lt;span&gt;causing a second deputy &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(Rolb&lt;span&gt;ie&lt;/span&gt;&lt;span&gt;cki) to attempt a PIT maneuver, which was again &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;unsuccessful&lt;span&gt;. &lt;span&gt; Pratt explained that Herrera eluded again&lt;/span&gt;, &lt;span&gt;drove &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;/div&gt;
&lt;div id="pfb" data-page-no="b"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;10 &lt;/div&gt;
&lt;div&gt;down a large embankment onto another road, and was ultimately &lt;/div&gt;
&lt;div&gt;stopped by a third deputy (Davidson), who successfully executed a &lt;/div&gt;
&lt;div&gt;PIT maneuver.    &lt;/div&gt;
&lt;div&gt;Â¶ 23&lt;span&gt; &lt;/span&gt;&lt;span&gt;This testimony provides ample record support &lt;span&gt;that the officersâ &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;PIT maneuvers and attempts to pin Herreraâs vehicle w&lt;span&gt;&lt;/span&gt;ere &lt;/div&gt;
&lt;div&gt;foreseeable and that any negligent conduct did not rise to the lev&lt;span&gt;&lt;/span&gt;el &lt;/div&gt;
&lt;div&gt;of gross negligence.  Indeed, Pratt testified that a PIT maneuver was &lt;/div&gt;
&lt;div&gt;the preferred technique used by law enforcement to stop an elu&lt;span&gt;&lt;/span&gt;ding &lt;/div&gt;
&lt;div&gt;vehicle and that the PIT maneuver was the safest way to stop a&lt;span&gt;n &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;eluding vehicle and to ensure the safety of others.  Pratt also &lt;/div&gt;
&lt;div&gt;testified that Rolb&lt;span&gt;ie&lt;span&gt;c&lt;/span&gt;&lt;/span&gt;&lt;span&gt;kiâs &lt;/span&gt;final strike &lt;span&gt;to pin Herreraâs vehicle after &lt;span&gt;&lt;/span&gt;it &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;was stopped by &lt;span&gt;Davidsonâs &lt;/span&gt;&lt;span&gt;PI&lt;/span&gt;T maneuver w&lt;span&gt;as&lt;/span&gt; necessary because &lt;/div&gt;
&lt;div&gt;Herrera demonstrated an intent to continue eluding the &lt;span&gt;&lt;/span&gt;officers.&lt;span&gt;  &lt;/span&gt;  &lt;/div&gt;
&lt;div&gt;Â¶ 24&lt;span&gt; &lt;/span&gt;&lt;span&gt;The court acknowledged Pratt&lt;span&gt;âs&lt;/span&gt; incorrect statements to the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;other deputies that Herrera had struck his patrol car when in fact &lt;/div&gt;
&lt;div&gt;Herrera had swerved toward him but made no contact&lt;span&gt;. &lt;/span&gt; But it &lt;/div&gt;
&lt;div&gt;nevertheless found that, in light of &lt;span&gt;Herreraâs &lt;/span&gt;observed reckless &lt;/div&gt;
&lt;div&gt;driving, the misrepresentation did not lessen its determination of &lt;/div&gt;
&lt;div&gt;proximate cause. &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div id="pfc" data-page-no="c"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;11 &lt;/div&gt;
&lt;div&gt;Â¶ 25&lt;span&gt; &lt;/span&gt;&lt;span&gt;To the extent Herrera argues that he was not the proximate &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;cause of the damage because he did not participate in &lt;span&gt;&lt;/span&gt;the event, he &lt;/div&gt;
&lt;div&gt;fails to adequate&lt;span&gt;ly&lt;/span&gt; explain this assertion.  &lt;span&gt;People v. Houser&lt;/span&gt;, 2020 &lt;/div&gt;
&lt;div&gt;COA 128, Â¶ 24 (we will not consider a bald legal proposition &lt;/div&gt;
&lt;div&gt;presented without argument or development). &lt;/div&gt;
&lt;div&gt;IV.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Disposition &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 26&lt;span&gt; &lt;/span&gt;&lt;span&gt;The order is affirmed. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;JUDGE TOW and JUDGE SCHUTZ concur. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
